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 8

 9                                 UNITED STATES DISTRICT COURT

10                               NORTHERN DISTRICT OF CALIFORNIA

11
     GABRIELA BAYOL and BRUCE VERBECK,                    Case No. 3:18-cv-01462 MMC
12   individually and on behalf of all others similarly
     situated,                                            PLAINTIFFS’ NOTICE OF MOTION
13                                                        AND MOTION FOR PRELIMINARY
                                           Plaintiffs,    APPROVAL OF CLASS ACTION
14                                                        SETTLEMENT, PROVISIONAL
            v.                                            CERTIFICATION OF NATIONWIDE
15                                                        SETTLEMENT CLASS, AND
     HEALTH-ADE LLC, and WHOLE FOODS                      APPROVAL OF PROCEDURE FOR
16   MARKET CALIFORNIA, INC.,                             AND FORM OF NOTICE

17                                      Defendants.       Date:      April 19, 2019
                                                          Time:      9:00 a.m.
18                                                        Courtroom: 7, 19th Floor

19
                                                          Judge: Hon. Maxine M. Chesney
20

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     MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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 1
     TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2
            PLEASE TAKE NOTICE THAT on April 19, 2019 at 9:00 a.m. or as soon thereafter as
 3
     counsel may be heard by the above-captioned Court, located at 450 Golden Gate Avenue,
 4
     Courtroom 7, 19th Floor, San Francisco, California 94102 in the courtroom of Judge Maxine M.
 5
     Chesney, Plaintiffs Gabriela Bayol and Bruce Verbeck (“Plaintiffs”), by and through their
 6
     undersigned counsel of record, will move, pursuant to Fed. R. Civ. P. 23(e), for the Court to: (i)
 7
     grant preliminary approval of the proposed Stipulation of Class Action Settlement (“Settlement
 8
     Agreement”), (ii) provisionally certify the Class for the purposes of preliminary approval,
 9
     designate Plaintiffs as the Class Representatives, and appoint Bursor & Fisher, P.A. as Class
10
     Counsel for the Class, (iii) establish procedures for giving notice to members of the Class, (iv)
11
     approve forms of notice to Class Members, (v) mandate procedures and deadlines for exclusion
12
     requests and objections, and (vi) set a date, time and place for a final approval hearing.
13
            This motion is made on the grounds that preliminary approval of the proposed class action
14
     settlement is proper, given that each requirement of Rule 23(e) has been met.
15
            This motion is based on Plaintiff’s Memorandum of Points and Authorities in Support of
16
     Motion for Preliminary Approval of Class Action Settlement, Provisional Certification of
17
     Nationwide Settlement Class, and Approval of Procedure for and Form of Notice, the
18
     accompanying Declarations of Yeremey Krivoshey and Gary Cooperman and attachments thereto,
19
     including the Settlement Agreement, the Declarations of Gabriela Bayol and Bruce Verbeck, the
20
     Declarations of William W. Wickersham and Ron Resnikoff, the pleadings and papers on file
21
     herein, and any other written and oral arguments that may be presented to the Court.
22

23   Dated: March 15, 2019                         Respectfully submitted,

24                                                 BURSOR & FISHER, P.A.

25                                                 By:     /s/ Yeremey Krivoshey
                                                              Yeremey Krivoshey
26
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27                                                 Joel D. Smith (State Bar No. 244902)
                                                   Yeremey Krivoshey (State Bar No. 295032)
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     MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT                                           i
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 8                                          Attorneys for Plaintiffs
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 1
     I.      INTRODUCTION
 2
             Plaintiffs Gabriela Bayol and Bruce Verbeck (“Plaintiffs”), by and through Class Counsel,1
 3
     respectfully submit this memorandum in support of Plaintiffs’ Motion for Preliminary Approval of
 4
     Class Action Settlement. The Settlement Agreement (hereafter, “Settlement”) and its exhibits are
 5
     attached as Exhibit 1 to the Declaration of Yeremey Krivoshey (“Krivoshey Decl.”), filed herewith.
 6
             Plaintiffs’ operative complaint, the Amended Class Action Complaint, Dkt. No. 16, alleges
 7
     that Defendant Health-Ade LLC (“Health-Ade”) mislabeled its kombucha beverages by (1) selling
 8
     the Subject Products as non-alcoholic when those products allegedly contain more alcohol than
 9
     permitted for non-alcoholic beverages; and (2) understating the sugar content of the Subject
10
     Products on the labels of the Subject Products. The lawsuit also alleges that Defendant Whole
11
     Foods Market California, Inc. violated the law by reselling the Health-Ade’s mislabeled products.
12
     Defendants have vigorously denied these allegations and asserted numerous defenses.
13
             After two full-day mediations before Jill R. Sperber, Esq. of Judicate West, undertaking a
14
     thorough investigation, including several rounds of laboratory testing of the Subject Products, and
15
     protracted discovery, the parties have reached a settlement that provides a real and substantial
16
     monetary benefit to the Class. Defendants have agreed to provide up to $3,997,500 to pay claims
17
     for those who purchased on or more flavors of the Subject Products on a claims-made basis. Class
18
     Members can receive a $4.00 cash award for each Subject Product the Authorized Claimant
19
     purchased during the Class Period, up to a maximum of ten (10) claims (or $40.00 in cash) if the
20
     Authorized Claimant does not provide Proof of Purchase. Authorized Claimants who claim more
21
     than $40.00 in cash awards must submit Proof of Purchase establishing their purchase during the
22
     Class Period of each Subject Product claimed and may receive up to $80.00 in cash awards based
23
     on the retail value of the Subject Products shown in the Proof of Purchase. This is an excellent
24
     result for Class Members, given that the Settlement effectively provides a full refund to Class
25
     Members that submit claims. See supra Argument § VI.A.
26

27   1
      All capitalized terms not otherwise defined herein shall have the same definitions as set out in the
28   settlement agreement. See Krivoshey Decl., Ex. 1.


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 1          The Settlement also provides significant injunctive relief. Health-Ade has agreed to (1)
 2   maintain on the labels of the Subject Products the following warning statement: “Kombucha should
 3   not be consumed if left unrefrigerated for an extended period of time. Pregnant/breast feeding?
 4   Consult your doctor. Due to natural fermentation, there may be trace amounts of alcohol and small
 5   pieces of culture”; (2) effectuate a formulation change that will control the variability of the
 6   alcohol and sugar content in its products to ensure that the declared sugar and alcohol content on
 7   such products’ labels do not vary to a greater extent than allowed by federal or state labeling
 8   standards; and (3) regularly test samples of its products using a third-party laboratory to ensure
 9   compliance with federal and state labeling standards and to ensure the accuracy of the
10   representations regarding the sugar content of its products.
11          As in any class action, the Settlement is subject initially to preliminary approval and then to
12   final approval by the Court after notice to the class and a hearing. Plaintiffs now request this Court
13   to enter an order in the form of the Proposed Preliminary Approval Order, which is attached to the
14   Settlement as Exhibit D. That Order will: (1) grant preliminary approval of the Settlement; (2)
15   conditionally certify the Class, designate Plaintiffs as Class Representatives, and appoint Bursor &
16   Fisher, P.A. as Class Counsel; (3) appoint RG/2 Claims Administration LLC as the Settlement
17   Administrator and establish procedures for giving notice to members of the Class; (4) approve
18   forms of notice to Class Members; (5) mandate procedures and deadlines for exclusion requests
19   and objections; and (5) set a date, time and place for a final approval hearing.
20          Class certification for purposes of settlement is appropriate under Federal Rules of Civil
21   Procedure 23(a), (b)(2), and (b)(3). The proposed Class is so numerous that the joinder of all Class
22   Members is impracticable; there are questions of law or fact common to the proposed Class; the
23   proposed Class Representatives’ claims are typical of those of the Class; and the proposed Class
24   Representatives will fairly and adequately protect the interests of the proposed Class. In addition,
25   common issues of law and fact predominate over any questions affecting only individual members
26   and a class action as proposed here is superior to other available methods for the fair and efficient
27   adjudication of the controversy. Issues of manageability of a nationwide class are of little
28

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 1   consequence as the parties now seek certification only of a settlement Class. Further, Defendants
 2   have acted on grounds that apply generally to the Class, so that final injunctive relief is appropriate
 3   respecting the class as a whole.
 4            The Settlement is fair and reasonable and falls within the range of possible approval. It is
 5   the product of extended arms-length negotiations between experienced attorneys familiar with the
 6   legal and factual issues of this case and all Class Members are treated fairly under the terms of the
 7   Settlement. Plaintiffs, by and through their counsel, have conducted an extensive investigation into
 8   the facts and law relating to this matter as set forth below and in the accompanying Krivoshey
 9   Declaration. Plaintiffs and their counsel hereby acknowledge that in the course of their
10   investigation they received, examined, and analyzed information, documents, and materials that
11   they deem necessary and appropriate to enable them to enter into the Settlement on a fully
12   informed basis. It is an outstanding result Class Members. The Court should enter the proposed
13   order granting preliminary approval.
14   II.      PROCEDURAL BACKGROUND
15            On March 6, 2018, Plaintiff Gabriela Bayol filed this case in this Court alleging that
16   Health-Ade made false or misleading representations regarding the alcohol and sugar content of its
17   kombucha beverages. Dkt. No. 1. On May 4, 2018, Defendants filed an Answer to the Complaint.
18   Dkt. No. 15. On May 10, 2018, Plaintiffs filed an Amended Class Action Complaint, adding
19   Plaintiff Bruce Verbeck to this action. Dkt. No. 16. The Amended Class Action Complaint
20   contained the same allegations as the initial Complaint, but also asserted violations of the New
21   York General Business Law §§ 349 and 350 (“NYGBL”). The Amended Class Action Complaint
22   also added a proposed New York subclass. On May 24, 2018, Defendants filed an Answer to
23   Plaintiffs’ Amended Class Action Complaint. Dkt. No. 27.
24            On March 23, 2018, a complaint was filed in Gonzalez, et al. v. Health-Ade LLC, Case No.
25   3:18-cv-01836 (N.D. Cal.) (hereafter, the “Gonzalez action”). The Gonzalez action is, however,
26   significantly narrower than Bayol action. Unlike the Bayol action, the Gonzalez action rested
27   exclusively on the allegation that Health-Ade’s kombucha beverages contain more sugar than listed
28

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 1   on the label. No allegations regarding alcohol content were ever made. On May 30, 2018, the
 2   Court related the Bayol and Gonzalez actions. Dkt. No. 29.
 3          Plaintiffs in both the Bayol and Gonzalez actions moved for appointment of their respective
 4   counsel as Interim Class Counsel. On August 23, 2018, the Court granted the Bayol Plaintiffs’
 5   motion, denied the Gonzalez Plaintiffs’ motion, and appointed Bursor & Fisher, P.A., counsel for
 6   the Bayol Plaintiffs, as sole Interim Class Counsel. Dkt. No. 43. In appointing Bursor & Fisher,
 7   P.A. as sole Interim Class Counsel, the Court found that Bursor & Fisher, P.A. “ha[s] more
 8   extensive experience in representing clients in false advertising cases, including a case factually
 9   similar to that here, and, in the instant case, have done a considerable amount of prefiling work in
10   an effort to identify and plead potential claims.” Id.
11          The Parties have engaged in significant discovery. See Krivoshey Decl. ¶ 2. The Parties
12   exchanged and met and conferred concerning a number of discovery requests, including
13   interrogatories and requests for production. See id. In response, Health-Ade produced critical
14   documents concerning the merits of the case and its overall financial condition to Plaintiffs,
15   including Health-Ade’s test results concerning the alcohol and sugar content of the Subject
16   Products. Id. Plaintiffs also deposed Health-Ade’s Fed. R. Civ. P. 30(b)(6) witness regarding the
17   sales and pricing of Health-Ade’s beverages, Health-Ade’s financial welfare and standing, Health-
18   Ade’s alcohol and sugar testing concerning the Subject Products, the alcohol and sugar content of
19   Health-Ade’s beverages, and the formulation of Health-Ade’s beverages, including formulation
20   changes anticipated in the future. Id. Plaintiffs reviewed all of the documents produced by Health-
21   Ade, as well as documents and information obtained through their own research and investigation.
22   Id. For instance, Plaintiffs commissioned separate, independent tests concerning the alcohol and
23   sugar content of the Subject Products. Id.
24          Counsel for Plaintiffs and counsel for Defendants have engaged in substantial arm’s-length
25   negotiations in an effort to resolve this action. Id. ¶ 3. On June 26, 2018, the Parties participated
26   in a full day of mediation with Jill R. Sperber, Esq. of Judicate West. The June 26, 2018 mediation
27   did not result in a settlement. Id. After the Court’s August 23, 2018 Order appointing Bursor &
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 1   Fisher, P.A. as Interim Class Counsel, the Parties engaged in weeks of back and forth settlement
 2   negotiations. Id. On October 4, 2018, the Parties participated in another full day of mediation with
 3   Ms. Sperber. The Parties agreed on the material terms of this Settlement at the October 4, 2018
 4   mediation. Id.
 5   III.   THE STANDARD FOR PRELIMINARY APPROVAL OF CLASS ACTION
            SETTLEMENTS
 6
            Approval of class action settlements involves a two-step process. First, the Court must
 7
     make a preliminary determination whether the proposed settlement appears to be fair and is “within
 8
     the range of possible approval.” In re Syncor ERISA Litig., 516 F.3d 1095, 1100 (9th Cir. 2008); In
 9
     re Tableware Antitrust Litig., 484 F. Supp. 2d 1078, 1079 (N.D. Cal. 2007); Alaniz v. California
10
     Processors, Inc., 73 F.R.D. 269, 273 (N.D. Cal. 1976), cert. denied sub nom. Beaver v. Alaniz, 439
11
     U.S. 837 (1978). If so, notice can be sent to class members and the Court can schedule a final
12
     approval hearing where a more in-depth review of the settlement terms will take place. See
13
     Manual for Complex Litigation, § 21.312 at 293-96 (4th ed. 2004).
14
            The purpose of a preliminary approval hearing is to ascertain whether there is any reason to
15
     notify the putative class members of the proposed settlement and to proceed with a fairness
16
     hearing. See In re Tableware Antitrust Litig., 484 F. Supp. 2d at 1079. Notice of a settlement
17
     should be disseminated where “the proposed settlement appears to be the product of serious,
18
     informed, non-collusive negotiations, has no obvious deficiencies, does not improperly grant
19
     preferential treatment to class representatives or segments of the class, and falls within the range of
20
     possible approval.” Id. (quoting NEWBERG ON CLASS ACTIONS § 11.25 (1992)). Preliminary
21
     approval does not require an answer to the ultimate question of whether the proposed settlement is
22
     fair and adequate, for that determination occurs only after notice of the settlement has been given
23
     to the members of the settlement class. See In re Tableware Antitrust Litig., 484 F. Supp. 2d at
24
     1079 (finding that “[t]he question currently before the court is whether this settlement should be
25
     preliminarily approved” for the purposes of notifying the putative class members of the proposed
26
     settlement and proceeding with a fairness hearing, which requires the court to consider whether the
27
     settlement appears to be fair and “falls within the range of possible approval”) (emphasis added).
28

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 1          Nevertheless, a review of the standards applied in determining whether a settlement should
 2   be given final approval is helpful to the determination of preliminary approval. One such standard
 3   is the strong judicial policy of encouraging compromises, particularly in class actions. See In re
 4   Syncor, 516 F.3d at 1101 (citing Officers for Justice v. Civil Serv. Comm’n, 688 F.2d 615 (9th Cir.
 5   1982), cert. denied, 459 U.S. 1217 (1983)).
 6          While the Court has discretion regarding the approval of a proposed settlement, it should
 7   give “proper deference to the private consensual decision of the parties.” Hanlon v. Chrysler
 8   Corp., 150 F.3d 1011, 1027 (9th Cir. 1998). In fact, when a settlement is negotiated at arm’s-
 9   length by experienced counsel, there is a presumption that it is fair and reasonable. See In re Pac.
10   Enters. Sec. Litig., 47 F.3d 373, 378 (9th Cir. 1995). Ultimately, the Court’s role is to ensure that
11   the settlement is fundamentally fair, reasonable and adequate. See In re Syncor, 516 F.3d at 1100.
12          In evaluating preliminarily the adequacy of a proposed settlement, particular attention
13   should be paid to the process of settlement negotiations. Here, the negotiations were conducted at
14   arm’s length, were non-collusive and were well informed, with an assessment of the strengths and
15   weaknesses of the claims on both sides, were conducted between counsel on both sides with
16   decades of class action experience, and utilized at the appropriate time the assistance of a well-
17   respected mediator. Under such circumstances, the settlement is entitled to a presumption of
18   reasonableness, and the court is entitled to rely upon the opinions and assessments of counsel.
19   Boyd v. Bechtel Corp., 485 F. Supp. 610, 622-23 (N.D. Cal. 1979).
20          Beyond the public policy favoring settlements, the principal consideration in evaluating the
21   fairness and adequacy of a proposed settlement is the likelihood of recovery balanced against the
22   benefits of settlement. “[B]asic to this process in every instance, of course, is the need to compare
23   the terms of the compromise with the likely rewards of litigation.” Protective Committee for
24   Independent Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424-25 (1968).
25   That said, “the court’s intrusion upon what is otherwise a private consensual agreement negotiated
26   between the parties to a lawsuit must be limited to the extent necessary to reach a reasoned
27   judgment that the agreement is not the product of fraud or overreaching by, or collusion between,
28

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 1   the negotiating parties, and that the settlement, taken as a whole, is fair, reasonable and adequate to
 2   all concerned.” Officers for Justice, 688 F.2d at 625.
 3   IV.     TERMS OF THE PROPOSED SETTLEMENT
 4           The proposed Class consists of “all persons in the United States and United States
 5   Territories who purchased at retail one or more of the Subject Products2 during the Class Period.”
 6   Settlement at ¶ 7. Excluded from the Class are (a) Defendants and their employees, principals,
 7   officers, directors, agents, affiliated entities, legal representatives, successors and assigns; (b) the
 8   judges to whom the Action has been or is assigned and any members of their immediate families;
 9   (c) those who purchased the Subject Products for the purpose of re-sale; and (d) all persons who
10   have filed a timely Request for Exclusion from the Class. See id.
11           A.      Monetary Relief for Class Members
12           Health-Ade has agreed to pay up to $3,997,500 to cover all claims filed by Class Members
13   as well as the costs of settlement administration, incentive awards, and attorneys’ fees, costs and
14   expenses. Class Members can receive a cash payment of $4.00 for each Subject Product they
15   purchased during the Class Period up to $40 without proof of purchase. Class Members with proof
16   of purchase can receive a cash payment up to $80 based on the retail value of the Subject Products
17   shown in the Proof of Purchase during the Class Period. This is a particularly strong settlement
18   because the average retail price of the Subject Products during the Class Period generally varied
19   between $3.52 and $4.95. Declaration of Gary Cooperman (“Cooperman Decl.”) ¶ 5. Indeed, the
20   weighted average retail price of the Subject Products throughout the class period is $3.83 – less
21   than the $4.00 offered by the Settlement. See Krivoshey Decl. ¶ 5.
22           Due to a combination of an expansive notice program and the high cash awards provided by
23   the Settlement, Class Counsel anticipates a high claims rate and outstanding monetary relief for the
24   Class. In the Court’s Order Granting Bayol Plaintiffs’ Motion for Appointment of Interim Class
25   Counsel, the Court appointed Bursor & Fisher, P.A. as sole Interim Class Counsel in part because
26

27   2
       “Subject Products” are all products, including all flavors, under Health-Ade’s kombucha product
28   lines sold within the Class period.

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 1   of their success in a very similar case in the Central District of California. See Dkt. 43, at 3.
 2   Specifically, the Court noted that “Bayol Plaintiffs have had more experience in cases involving
 3   false advertising claims.” Id. “Further, in that regard, counsel for the Bayol Plaintiffs brought, in
 4   2015, a nationwide class action against another manufacturer of kombucha beverages, which case
 5   was based on statements similar to those allegedly made by Health-Ade, and wherein a settlement
 6   providing both monetary and injunctive relief was obtained.” Id. (citing Retta v. Millennium
 7   Prods., Inc., 2017 WL 5479637, at *1-3, 11 (C.D. Cal. Aug. 22, 2017)).
 8            Like here, the plaintiffs in Retta alleged that the defendants in that case unlawfully sold
 9   kombucha beverages that failed to disclose that they contained more alcohol than permitted for
10   non-alcoholic beverages and contained more sugar than declared on the bottles’ labels. See Retta,
11   2017 WL 5479637, at *1. Further, as here, the settlement in Retta settled claims on a nationwide
12   basis, was claims-made, and provided largely identical injunctive relief. See id., at *2. A
13   comparison of the settlement agreement approved in Retta and the present settlement agreement
14   shows that the present settlement provides greater relief than the settlement in Retta on a per claim
15   basis (and a total number units sold basis), and will likely result in the entire Net Cash Amount
16   being exhausted:
17
                                      Retta Settlement                        Bayol Settlement
18       Total Settlement     $8,250,000 claims-made.                $3,997,500 claims-made.
         Fund
19       Number of Units      274,715,600 bottles sold3              37,950,248 bottles sold. Cooperman
20       Sold                                                        Decl. ¶ 6.
         Methods of Notice    Newspaper posting in California        Newspaper postings in the Los
21                            regional edition of USA Today,         Angeles Times, Sacramento Bee,
                              toll-free phone number, website        and the San Francisco Chronicle,
22                            and social media banner ads, and       toll-free phone number, press
                              posting on defendant’s website         release, website and social media
23
                              and social media sites.4               banners ads, keyword ads, and
24                                                                   posting on Defendant’s website and
                                                                     social media sites. Wickersham
25                                                                   Decl. ¶¶ 16-29; Settlement, ¶ 48-54

26   3
       Retta v. Millennium Prods., Inc., Case No. 15-cv-1801-PSG-AJW, Declaration of GT Dave in
27   Support of Motion for Preliminary Approval of Class Action Settlement, Dkt. 103-2, at ¶ 7 (C.D.
     Cal. Nov. 18, 2016).
     4
28     Retta, 2017 WL 5479637, at *3.

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         Notice Reach           87 percent reach. Digital notice:   ≈80 percent reach. Digital notice:
 1
                                about 15.5 million impressions.5    over 44 million impressions.
 2                                                                  Wickersham Decl. ¶ 17.
         Number Claim           173,000.6                           ≈65,000 claims needed to exhaust
 3       Forms Submitted                                            Net Cash Amount, which Plaintiff’s
                                                                    counsel believes is within the range
 4                                                                  of likely claim amounts based on
 5                                                                  experience and discussions with
                                                                    claims administrators. Krivoshey
 6                                                                  Decl. ¶ 7.
         Average Recovery       ≈$31.50 after a 10% pro rata        ≈$40.00.
 7       Per Class Member       diminishment due to a high
         or Claimant            number of claims.7
 8
         Amount Distributed     None                                None.
 9       to Cy Pres
         Notice Costs           ≈586,5008                           ≈350,000-$375,000. Krivoshey
10                                                                  Decl. ¶ [ ].
         Attorneys’ Fees and $2,202,580 in fees, of which           Class Counsel will be seeking
11       Costs               $2,062,500 was granted to Bursor       $999,375 in fees plus costs. To date,
12                           & Fisher, P.A.; $33,701.83 in          Class Counsel has reasonably
                             costs, of which $18,121.16 was         incurred $14,243.78 in costs.
13                           granted to Bursor & Fisher, P.A.9      (Krivoshey Decl. ¶ 8)
         Injunctive Relief   Removal of term “antioxidant,”         Disclaimer regarding alcohol
14                           disclaimer regarding alcohol           content, formulation change, and
                             content, warning regarding risk of     periodic testing.
15
                             leaking bottles, and periodic
16                           testing.10

17             Based on the similarity of the settlement in Retta, and the number of expected claims, Class

18   Counsel expects that the entire Net Cash Amount will be exhausted and that the Settlement

19   provides tremendous monetary relief for the class.

20             B.       Injunctive Relief

21             The Settlement also provides significant injunctive relief. For one year, Health-Ade has

22   agreed to maintain a warning on the labels of the Subject Products stating: “Kombucha should not

23   be consumed if left unrefrigerated for an extended period of time. Pregnant/breast feeding?

24
     5
25     Id.
     6
       Id.
     7
26     See id.
     8
       See Retta v. Millennium Prods., Inc., Case No. 15-cv-1801-PSG-AJW, Declaration of Steven
27   Weisbrot, Esq., Dkt. 117-2, at ¶ 16 (C.D. Cal. June 19, 2017).
     9
       Retta, 2017 WL 5479637, at *19.
     10
28      Id., at *2.

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 1   Consult your doctor. Due to natural fermentation, there may be trace amounts of alcohol and small
 2   pieces of culture.” Settlement at ¶ 47. Health-Ade has also agreed to effectuate a formulation
 3   change that will control the variability of the alcohol and sugar content in its products to ensure
 4   that the declared sugar and alcohol content on such products’ labels do not vary to a greater extent
 5   than allowed by federal or state labeling standards. Id. Further, Health-Ade has agreed to
 6   regularly test samples of its products using a third-party laboratory to ensure compliance with
 7   federal and state labeling standards and to ensure the accuracy of the representations regarding the
 8   sugar and alcohol content of its products. Id.
 9          C.      Payment of Incentive Awards and Attorneys’ Fees, Costs and
                    Expenses
10
            Subject to the Court’s approval, Defendants have agreed to pay incentive awards to each
11
     Plaintiff in the amount of $2,000. Settlement, at ¶ 55. Both named Plaintiffs, Gabriela Bayol and
12
     Bruce Verbeck, have spent substantial time on this action, have assisted with the investigation of
13
     this action and the drafting of the complaint, have been in contact with counsel frequently, and
14
     have stayed informed of the status of the action, including settlement. See Declaration of Gabriela
15
     Bayol in Support of Plaintiffs’ Motion for Preliminary Approval; Declaration of Bruce Verbeck in
16
     Support of Plaintiffs’ Motion for Preliminary Approval.
17
            Class Counsel will make an application to the Court for an award of attorneys’ fees, costs
18
     and expenses. Defendants have the right to challenge the amount of Plaintiffs’ fees, costs and
19
     expenses and there is no agreement as to the amount of attorneys’ fees, costs and expenses that will
20
     be sought by Class Counsel.
21
                    1.      Attorneys’ Fees, Costs, and Expenses Sought
22
            The Settlement provides for an $3,997,500 “claims-made” fund to pay all valid and timely
23
     claims, attorneys’ fees and costs, incentive awards to the Class Representatives, and costs of notice
24
     and administration. As discussed in detail below, this is an excellent result. See supra Argument
25
     §§ V, VI.A. In light of such a result, Class Counsel will request 25% of the Settlement Fund, or
26
     $999,375 in their anticipated application for attorneys’ fees. Krivoshey Decl. ¶ 8. This method of
27
     calculating the fee award, based on a percentage of the Settlement Fund, is straightforward, is fair
28

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 1   under the circumstances, and is supported by the laws of this Circuit. The 25% fee is also fair in
 2   light of the significant time Class Counsel has devoted to this case on a contingency fee basis with
 3   the threat of no recovery at all absent a successful resolution. Class Counsel will also seek
 4   reimbursement of all reasonably expended out-of-pocket expenses. Id. To date, Class Counsel has
 5   incurred $14,243.78 in out-of-pocket expenses.
 6          Under the common fund doctrine, courts typically award attorneys’ fees based on a
 7   percentage of the total settlement. See State of Florida v. Dunne, 915 F.2d 542, 545 (9th Cir.
 8   1990); see also In re Pac. Enters. Sec. Litig., 47 F.3d 373, 378-79 (9th Cir. 1995) (affirming
 9   attorney’s fee award of 33% of the recovery); Morris v. Lifescan, Inc., 54 F. App’x 663, 664 (9th
10   Cir. 2003) (affirming attorney’s fee award of 33% of the recovery). To calculate attorneys’ fees
11   based on the percentage of the benefit, the Court must first determine the value of the Settlement
12   Fund. In doing so, the Court must include the value of the benefits conferred to the Class,
13   including any attorneys’ fees, expenses, and notice and claims administration payments to be made.
14   See, e.g., Staton v. Boeing Co., 327 F.3d 938, 972–74 (9th Cir. 2003); Hartless v. Clorox Co., 273
15   F.R.D. 630, 645 (S.D. Cal. 2011), aff’d, 473 F. App’x. 716 (9th Cir. 2012). Stated otherwise,
16   California courts include the requested attorneys’ fees when calculating the total value of the
17   settlement fund. Lealao v. Beneficial California, Inc, 82 Cal. App. 4th 19, 33 (2000). Thus, “the
18   sum of the two amounts ordinarily should be treated as a settlement fund for the benefit of the class
19   ….” In re Consumer Privacy Cases, 175 Cal. App. 4th 545, 554 (2009) (citation omitted).
20          Moreover, the Court must not consider the total monetary amount distributed to the Class;
21   rather, the Court should only consider the amount made available to the Class. As articulated in
22   Young v. Polo Retail, LLC, 2007 WL 951821, at *8 (N.D. Cal. Mar. 28, 2007), Ninth Circuit
23   precedent requires courts to award class counsel fees based on the total benefits being made
24   available rather than the amount actually paid out. Id. at 23 (citing Williams v. MGM-Pathe
25   Commc'ns Co., 129 F.3d 1026 (9th Cir. 1997) (ruling that a district court abused its discretion in
26   basing attorney fee award on actual distribution to class instead of amount being made available).
27

28

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 1   Here, Class Counsel expects that the settlement fund will be fully subscribed by timely and valid
 2   claims, and that there will be no difference between the amount made available and the actual
 3   payout. Accordingly, the total value of the Settlement Fund is $3,997,500.
 4           Class Counsel will seek the Ninth Circuit’s established 25% starting benchmark of the
 5   common fund. Hanlon, 150 F.3d at 1029. The Ninth Circuit has identified five factors that are
 6   relevant in determining whether requested attorneys’ fees in a common fund case are reasonable:
 7   (a) the results achieved; (b) the risk of litigation; (c) whether Class Counsel’s work generated
 8   benefits beyond the Class settlement fund, (d) market rates as reflected by awards made in similar
 9   cases; and (e) the contingent nature of the fee and the financial burden carried by the plaintiffs.
10   Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1048–50 (9th Cir. 2002). Each of these factors shows
11   that the Ninth Circuit’s 25 percent benchmark is reasonable in this case, and that any downward
12   adjustment would be manifestly unfair. Here, as discussed in greater details, Class Counsel has
13   easily satisfied each factor.
14           The Court may alternatively grant the requested Attorneys’ fees under the lodestar method.
15   Hanlon, 150 F.3d at 1029. The lodestar figure is calculated by multiplying the hours spent on the
16   case by reasonable hourly rates for the region and attorney experience. See, e.g., In re Bluetooth
17   Headset Prods. Liab. Litig., 654 F.3d 935, 941-42 (9th Cir. 2011); Hanlon, 150 F.3d at 1029. The
18   resulting lodestar figure may be adjusted upward or downward by use of a multiplier to account for
19   factors including, but not limited to: (i) the quality of the representation; (ii) the benefit obtained
20   for the class; (iii) the complexity and novelty of the issues presented; and (iv) the risk of
21   nonpayment. Hanlon, 150 F.3d at 1029; Kerr v. Screen Extras Guild, Inc., 526 F.2d 67, 70 (9th
22   Cir. 1975). Courts typically apply a multiplier or enhancement to the lodestar to account for the
23   substantial risk that class counsel undertook by accepting a case where no payment would be
24   received if the lawsuit did not succeed. Vizcaino, 290 F.3d at 1051. As of March 13, 2019, Class
25   Counsel has billed a total of 417.2 hours at a blended rate of $551.37 per hour. Krivoshey Decl. ¶
26   9. Accordingly, Class Counsel’s lodestar to date is $230,030.00. Id. Should the Court award the
27   Ninth Circuit’s 25 percent benchmark, Class Counsel would receive a multiplier of 4.34 based on
28

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 1   their current lodestar. Id. However, Class Counsel anticipates spending 100 additional hours
 2   before final approval, thus lowering the lodestar multiplier to 3.50. Id. A multiplier between 3.50
 3   and 4.34 is reasonable in light of the risks and benefits obtained in this action. For instance, in a
 4   historical review of numerous class action settlements, the Ninth Circuit found that lodestar
 5   multipliers normally range from 0.6 to 19.6, with most (83%) falling between 1 and 4, and a bare
 6   majority (54%) between 1.5 and 3. See Vizcaino, 290 F.3d at 1051 n.6; see also Alba Conte &
 7   Herbert B. Newberg, Newberg on Class Actions § 14:03 (3d ed. 1992) (recognizing that multipliers
 8   of 1 to 4 are frequently awarded). State and federal courts often approve multipliers of 4 or more.11
 9           D.     Payment of Notice and Administrative Fees
10           The parties propose that RG/2 Claims Administration LLC (“RG/2”) act as the Settlement
11   Administrator. RG/2 will implement the Settlement and Notice Plan agreed to by the Parties. The
12   costs of notice and claims administration will be paid from the Settlement Fund. Based on quotes
13   given by RG/2, Plaintiffs anticipate that the costs of notice will range between $350,000 to
14   $375,000. Krivoshey Decl. ¶ 10.
15                  1.      The Settlement Administration Selection Process Was
                            Fair and Reasonable
16
             The Parties have selected RG/2 through a competitive bidding process. Plaintiff solicited
17
     bids from two settlement administrators. Id. 11. The first settlement administrator estimated that
18
     the cost of its notice program would be $616,610. Id. Class Counsel believed that $616,610 for a
19
     notice program was too high in light of the total amount provided by the Settlement and asked the
20
     same settlement administrator to make a lower bid. Id. The first settlement administrator then
21
     11
22      See, e.g., In re Cenco Inc. Sec. Litig., 519 F. Supp. 322 (N.D. Ill. 1981) (approving multiplier of
     4 in securities class action); Rabin v. Concord Assets Grp., Inc., 1991 WL 275757, at *2 (S.D.N.Y.
23   Dec. 19, 1991) (approving multiplier of 4.4 in securities class action); In re Beverly Hills Fire
     Litig., 639 F. Supp. 915 (E.D. Ky. 1986) (approving multiplier of up to 5); Roberts v. Texaco, Inc.,
24
     979 F. Supp. 185 (S.D.N.Y. 1997) (approving multiplier of 5.5); Bos. & Maine Corp. v. Sheehan,
25   Phinney, Bass & Green, P.A., 778 F.2d 890 (1st Cir. 1985) (approving multiplier of 6); Muchnick
     v. First Fed. Savs. & Loan Assoc. of Phil., 1986 WL 10791, at *4 (E.D. Pa. Sept. 30, 1986)
26   (approving multiplier of 8.3 in a consumer class action); Cosgrove v. Sullivan, 759 F. Supp. 166
     (S.D.N.Y. 1991) (approving multiplier of 8.74); Perera v. Chiron Corp., Civ. No. 95-20725-SW
27   (N.D. Cal. 1999, 2000) (approving multiplier of 9.14; cited in California Class Actions and
28   Coordinated Proceedings §15.05).

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 1   submitted a second bid with a notice program estimated to cost $586,075. Id. Class Counsel
 2   believed that the improved bid was still too expensive. Id. After receiving the two bids from the
 3   first notice administrator, Class Counsel solicited a bid from RG/2. Id. RG/2 estimated that it
 4   could administer notice in this case for a cost of roughly $350,000 to $375,000. Id.
 5           Both settlement administrators proposed very similar notice plans: both settlement
 6   administrators proposed using an expansive banner ad campaign on Google and social media, using
 7   regional publication notice, a toll-free telephone line, a settlement website, and providing direct
 8   notice to any class members for whom Defendant had contact information. Id. ¶ 12. Both
 9   settlement administrators anticipated that their respective notice programs would result in an 80
10   percent reach. Id. Considering that the notice programs proposed by both settlement
11   administrators were remarkably similar, and that both anticipated an 80 percent reach, Class
12   Counsel decided to engage RG/2 because it could effectively do the same job at roughly 60 percent
13   of the cost. Id. Class Counsel’s competitive bidding process saved roughly $200,000 in notice
14   costs for the Class.
15   V.      THE COURT SHOULD PRELIMNARILY APPROVE THE SETTLEMENT
             BECAUSE IT IS FAIR, ADEQUATE, AND REASONABLE
16
             Rule 23(e)(2) provides that “the court may approve [a proposed class action settlement]
17
     only after a hearing and on finding that it is fair, reasonable, and adequate.” When making this
18
     determination, the Ninth Circuit has instructed district courts to balance several factors: (1) the
19
     strength of plaintiffs’ case; (2) the risk, expense, complexity, and likely duration of further
20
     litigation; (3) the risk of maintaining class action status throughout the trial; (4) the amount offered
21
     in settlement; (5) the extent of discovery completed and the stage of the proceedings; and (6) the
22
     experience and views of counsel. Hanlon, 150 F.3d at 1026.12 Courts, however, give “proper
23
     deference to the private consensual decision of the parties,” since “the court’s intrusion upon what
24
     is otherwise a private consensual agreement negotiated between the parties to a lawsuit must be
25

26
     12
27     In Hanlon, the Ninth Circuit also instructed district courts to consider “the reaction of the class
     members to the proposed settlement.” Hanlon, 150 F.3d at 1026. This consideration is more
28   germane to final approval, and will be addressed at the appropriate time.

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 1   limited to the extent necessary to reach a reasoned judgment that the agreement is not the product
 2   of fraud or overreaching by, or collusion between, the negotiating parties, and the settlement, taken
 3   as a whole, is fair, reasonable and adequate to all concerned.” Hanlon, 150 F.3d at 1027; accord,
 4   Fed. R. Civ. P. 23(e)(2) (settlement must be “fair, reasonable, and adequate”). Here, the balance of
 5   the Hanlon factors readily establishes that the Settlement should be preliminarily approved.
 6          A.      Strength of Plaintiffs’ Case
 7          In determining the likelihood of a plaintiff’s success on the merits of a class action, “the
 8   district court’s determination is nothing more than an amalgam of delicate balancing, gross
 9   approximations and rough justice.” Officers for Justice, 688 F.2d at 625 (internal quotations
10   omitted). The court may “presume that through negotiation, the Parties, counsel, and mediator
11   arrived at a reasonable range of settlement by considering Plaintiff’s likelihood of recovery.”
12   Garner v. State Farm. Mut. Auto. Ins. Co., 2010 WL 1687832, at *9 (N.D. Cal. Apr. 22, 2010)
13   (citing Rodriguez v. West Publ’g Corp., 563 F.3d 948, 965 (9th Cir. 2009)).
14          Here, as set forth in the Krivoshey Declaration, Class Counsel engaged in arms-length
15   negotiations with Defendants’ counsel, and Class Counsel was thoroughly familiar with the
16   applicable facts, legal theories, and defenses on both sides. Krivoshey Decl. ¶¶ 3, 14-15. Although
17   Plaintiffs and Class Counsel had confidence in their claims, a favorable outcome was not assured.
18   Id. ¶ 15. They also recognize that they would face risks at class certification, summary judgment,
19   and trial. Id. Defendants vigorously deny Plaintiffs’ allegations and assert that neither Plaintiffs
20   nor the Class suffered any harm or damages. In addition, Defendants would no doubt present a
21   vigorous defense at trial, and there is no assurance that the Class would prevail – or even if they
22   did, that they would not be able to obtain an award of damages significantly more than achieved
23   here absent such risks. Thus, in the eyes of Class Counsel, the proposed Settlement provides the
24   Class with an outstanding opportunity to obtain significant relief at this stage in the litigation. Id.
25   The Settlement also abrogates the risks that might prevent them from obtaining any relief. Id.
26          B.      Risk of Continuing Litigation
27          As referenced above, proceeding in this litigation in the absence of settlement poses various
28

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 1   risks such as failing to certify a class, having summary judgment granted against Plaintiffs, or
 2   losing at trial. Such considerations have been found to weigh heavily in favor of settlement. See
 3   Rodriguez, 563 F.3d at 966; Curtis-Bauer v. Morgan Stanley & Co., Inc., 2008 WL 4667090, at *4
 4   (N.D. Cal. Oct. 22, 2008) (“Settlement avoids the complexity, delay, risk and expense of
 5   continuing with the litigation and will produce a prompt, certain, and substantial recovery for the
 6   Plaintiff class.”). Even assuming that Plaintiffs were to survive summary judgment, they would
 7   face the risk of establishing liability at trial in light of conflicting expert testimony between their
 8   own expert witnesses and Defendants’ expert witnesses. In this “battle of experts,” it is virtually
 9   impossible to predict with any certainty which testimony would be credited, and ultimately, which
10   expert version would be accepted by the jury. The experience of Class Counsel has taught them
11   that these considerations can make the ultimate outcome of a trial highly uncertain.
12           Moreover, even if Plaintiffs prevailed at trial, in light of the possible damage theories that
13   could be presented by both sides, there is a substantial likelihood that Class Members may not be
14   awarded significantly more than is offered to them under this Settlement on an individual basis.
15   For example, in In re Apple Computer Sec. Litig., 1991 WL 238298, at *1 (N.D. Cal. Sept. 6,
16   1991), the jury rendered a verdict for plaintiffs after an extended trial. Based on the jury’s
17   findings, recoverable damages would have exceeded $100 million. However, weeks later, Judge
18   Ware overturned the verdict, entering judgment notwithstanding the verdict for the individual
19   defendants, and ordered a new trial with respect to the corporate defendant. Id. By settling,
20   Plaintiffs and the Class avoid these risks, as well as the delays and risks of the appellate process.
21   Here, under the Settlement, Class Members stand to recover more than a full refund of up to ten
22   Subject Products purchased within the Class Period. It is hard to imagine obtaining a recovery
23   greater than this at trial.
24           C.       Risk of Maintaining Class Action Status
25           In addition to the risks of continuing the litigation, Plaintiffs would also face risks in
26   certifying a class and maintaining class status through trial. Even assuming that the Court were to
27   grant a motion for class certification, the class could still be decertified at any time. See In re
28

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 1   Netflix Privacy Litig., 2013 WL 1120801, at *6 (N.D. Cal. Mar. 18, 2013) (“The notion that a
 2   district court could decertify a class at any time is one that weighs in favor of settlement.”) (internal
 3   citations omitted). From their prior experience, Class Counsel anticipates that Defendants would
 4   likely appeal the Court’s decision pursuant to Rule 23(f), and/or move for decertification at a later
 5   date. “[C]onsummating this Settlement promptly in order to provide effective relief to Plaintiff and
 6   the Class” eliminates these risks by ensuring Class Members a recovery that is certain and
 7   immediate. Johnson v. Triple Leaf Tea Inc., 2015 WL 8943150, at *4 (N.D. Cal. Nov. 16, 2015).
 8          D.      The Extent of Discovery and Status of Proceedings
 9          Under this factor, courts evaluate whether class counsel had sufficient information to make
10   an informed decision about the merits of the case. See In re Mego Fin. Corp. Sec. Litig., 213 F.3d
11   454, 459 (9th Cir. 2000). Plaintiffs, through their counsel, have conducted extensive research,
12   discovery, and investigation during the prosecution of the Action, including, without limitation: (i)
13   the review of documents produced by Defendants; (ii) the review of product tests initiated and paid
14   for by Plaintiffs and Class Counsel; (iii) the review of other publicly available reports and tests
15   concerning Defendants’ products; (iv) the review of publicly available information regarding
16   Defendants, their business practices and prior litigation involving them; and (v) the deposition of
17   Health-Ade’s Fed. R. Civ. P. 30(b)(6) witness regarding the sales and pricing of Health-Ade’s
18   beverages, Health-Ade’s financial welfare and standing, Health-Ade’s alcohol and sugar testing
19   concerning the Subject Products, the alcohol and sugar content of Health-Ade’s beverages, and the
20   formulation of Health-Ade’s beverages, including formulation changes anticipated in the future.
21   Krivoshey Decl. ¶ 2. The parties also held numerous telephonic and written discussions regarding
22   Plaintiffs’ allegations, discovery and settlement as well as two mediations with Jill Sperber of
23   Judicate West. Id. at ¶ 3. The Settlement is the result of fully-informed negotiations.
24          E.      Experience and Views of Counsel
25          “The recommendations of plaintiffs’ counsel should be given a presumption of
26   reasonableness.” In re Omnivision Techs., Inc., 559 F. Supp. 2d 1036, 1043 (N.D. Cal. 2008).
27   Deference to Class Counsel’s evaluation of the Settlement is appropriate because “[p]arties
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 1   represented by competent counsel are better positioned than courts to produce a settlement that
 2   fairly reflects each party’s expected outcome in litigation.” Rodriguez, 563 F.3d at 967. Here, the
 3   Settlement was negotiated by counsel with extensive experience in consumer class action litigation.
 4   See Krivoshey Decl. Ex. 2 (firm resume of Bursor & Fisher, P.A.). Based on their experience,
 5   Class Counsel concluded that the Settlement provides exceptional results for the Class while
 6   sparing the Class from the uncertainties of continued and protracted litigation.
 7   VI.    THE COURT SHOULD PROVISIONALLY CERTIFY THE CLASS, AND ENTER
 8          THE PRELIMINARY APPROVAL ORDER
            A.      The Proposed Settlement Class Should Be Certified
 9
            The Class consists of “all persons in the United States and United States Territories who
10
     purchased at retail one or more of the Subject Products during the Class Period.” Settlement, at ¶¶
11
     7, 10. Excluded from the Class are (a) Defendants and their employees, principals, officers,
12
     directors, agents, affiliated entities, legal representatives, successors and assigns; (b) the judges to
13
     whom the Action has been or is assigned and any members of their immediate families; (c) those
14
     who purchased the Subject Products for the purpose of re-sale; and (d) all persons who have filed a
15
     timely Request for Exclusion from the Class. Id. ¶ 7. This Court has not yet certified this case as a
16
     class action. For settlement purposes, the parties and their counsel request that the Court
17
     provisionally certify the Class.
18
            The Ninth Circuit has recognized that certifying a settlement class to resolve consumer
19
     lawsuits is a common occurrence. Hanlon, 150 F.3d at 1019. When presented with a proposed
20
     settlement, a court must first determine whether the proposed settlement class satisfies the
21
     requirements for class certification under Rule 23. In assessing those class certification
22
     requirements, a court may properly consider that there will be no trial. Amchem Prods., Inc. v.
23
     Windsor, 521 U.S. 591, 620 (1997) (“Confronted with a request for settlement-only class
24
     certification, a district court need not inquire whether the case, if tried, would present intractable
25
     management problems . . . for the proposal is that there be no trial.”). For the reasons below, the
26
     Class meets the requirements of Rule 23(a) and (b).
27

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                     1.      The Class Satisfies Rule 23(a)
 1
 2                           a.      Numerosity
             Rule 23(a)(1) requires that “the class is so numerous that joinder of all members is
 3
     impracticable.” See Fed. R. Civ. P. 23(a)(1). “As a general matter, courts have found that
 4
     numerosity is satisfied when class size exceeds 40 members, but not satisfied when membership
 5
     dips below 21.” Slaven v. BP Am., Inc., 190 F.R.D. 649, 654 (C.D. Cal. 2000). Here, the
 6
     proposed Class is comprised of millions of consumers who purchased the Subject Products – a
 7
     number that obviously satisfies the numerosity requirement. See Wickersham Decl. ¶ 13.
 8
     Accordingly, the proposed Class is so numerous that joinder of their claims is impracticable.
 9

10                           b.      Commonality

11           Rule 23(a)(2) requires the existence of “questions of law or fact common to the class.” See

12   Fed. R. Civ. P. 23(a)(2). Commonality is established if plaintiffs and class members’ claims

13   “depend on a common contention,” “capable of class-wide resolution … meaning that

14   determination of its truth or falsity will resolve an issue that is central to the validity of each one of

15   the claims in one stroke.” Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2551 (2011). Because

16   the commonality requirement may be satisfied by a single common issue, it is easily met. H.

17   Newberg & Conte, 1 Newberg on Class Actions § 3.10, at 3-50 (1992).

18           There are ample issues of both law and fact here that are common to the members of the

19   Class. Indeed, all of the Class Members’ claims arise from a common nucleus of facts and are

20   based on the same legal theories. The Plaintiffs allege that Defendants mislabeled their kombucha

21   beverages by (1) labeling the products as non-alcoholic when in fact they allegedly more than the

22   alcohol permitted for non-alcoholic beverages, and (2) allegedly understating the sugar content of

23   the products. Accordingly, commonality is satisfied by the existence of these common factual

24   issues. See Arnold v. United Artists Theatre Circuit, Inc., 158 F.R.D. 439, 448 (N.D. Cal. 1994)

25   (commonality requirement met by “the alleged existence of common discriminatory practices”).

26           Second, Plaintiffs’ claims are brought under legal theories common to the Class as a whole.

27   Alleging a common legal theory alone is enough to establish commonality. See Hanlon, 150 F.3d

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 1   at 1019 (“All questions of fact and law need not be common to satisfy the rule. The existence of
 2   shared legal issues with divergent factual predicates is sufficient, as is a common core of salient
 3   facts coupled with disparate legal remedies within the class.”). Here, all of the legal theories
 4   asserted by Plaintiffs are common to all Class Members (with the exception of New York statutory
 5   claims, which are pled only on behalf of the New York Subclass). See Amended Class Action
 6   Complaint, Dkt. 16, at ¶¶ 166-133. Thus, commonality is satisfied.
 7                          c.      Typicality
 8          Rule 23(a)(3) requires that the claims of the representative plaintiffs be “typical of the
 9   claims … of the class.” See Fed. R. Civ. P. 23(a)(3). “Under the rule’s permissive standards,
10   representative claims are ‘typical’ if they are reasonably co-extensive with those of absent class
11   members; they need not be substantially identical.” See Hanlon, 150 F.3d at 1020. In short, to
12   meet the typicality requirement, the representative plaintiffs simply must demonstrate that the
13   members of the settlement class have the same or similar grievances. Gen. Tel. Co. of the
14   Southwest Falcon, 457 U.S. 147, 161 (1982).
15          The claims of the named Plaintiffs are typical of those of the Class. Like those of the Class,
16   their claims arise out of the purchase of Health-Ade’s kombucha beverages and the alleged
17   mislabeling of those products. See Amended Compl. ¶¶ 6-7; Bayol and Verbeck Declarations, at
18   ¶¶ 2. Each named Plaintiff purchased several of Health-Ade’s kombucha products and was
19   exposed to the allegedly false or misleading labels. See id. The named Plaintiffs have precisely
20   the same claims as the Class, and must satisfy the same elements for ach of their claims. The
21   named Plaintiffs and all Class Members have been injured in the same course of conduct.
22   Therefore, Plaintiffs satisfy the typicality requirement.
23                          d.      Adequacy
24          The final requirement of Rule 23(a) is set forth in subsection (a)(4) which requires that the
25   representative parties “fairly and adequately protect the interests of the class.” See Fed. R. Civ. P.
26   23(a)(4). A plaintiff will adequately represent the class where: (1) plaintiffs and their counsel do
27   not have conflicts of interests with other class members; and (2) where plaintiffs and their counsel
28

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 1   prosecute the action vigorously on behalf of the class. See Staton v. Boeing Co., 327 F.3d 938, 958
 2   (9th Cir. 2003). Moreover, adequacy is presumed where a fair settlement was negotiated at arm’s-
 3   length. 2 Newberg on Class Actions, supra, §11.28, at 11-59.
 4          Class Counsel have vigorously and competently pursued the Class Members’ claims. The
 5   arm’s-length settlement negotiations that took place and the investigation they undertook
 6   demonstrate that Class Counsel adequately represent the Class. Moreover, the named Plaintiffs
 7   and Class Counsel have no conflicts of interests with the Class. See Bayol and Verbeck
 8   Declarations, at ¶¶ 3-9. Rather, the named Plaintiffs, like each absent Class Member, have a strong
 9   interest in proving Defendants’ common course of conduct, and obtaining redress. See id. In
10   pursing this litigation, Class Counsel, as well as the named Plaintiffs, have advanced and will
11   continue to advance and fully protect the common interests of all members of the Class. See id.
12   Class Counsel have extensive experience and expertise in prosecuting complex class actions. Class
13   Counsel are active practitioners who are highly experienced in class action, product liability, and
14   consumer fraud litigation. See Krivoshey Decl. Ex. 2 (firm resume of Bursor & Fisher, P.A.).
15   Accordingly, Rule 23(a)(4) is satisfied.
16                  2.      The Class Satisfies Rule 23(b)(3)
17          In addition to meeting the prerequisites of Rule 23(a), Plaintiffs must also meet one of the
18   three requirements of Rule 23(b) to certify the proposed class. See Zinser v. Accufix Research
19   Inst., Inc., 253 F.3d 1180, 1186 (9th Cir. 2001). Under Rule 23(b)(3), a class action may be
20   maintained if “the court finds that the questions of law or fact common to the members of the class
21   predominate over any questions affecting only individual members, and that a class action is
22   superior to other available methods for fairly and efficiently adjudicating the controversy.” See
23   Fed. R. Civ. P. 23(b)(3). Certification under Rule 23(b)(3) is appropriate and encouraged
24   “whenever the actual interests of the parties can be served best by settling their differences in a
25   single action.” Hanlon, 150 F.3d at 1022.
26                          a.      Common Questions of Law and Fact Predominate
27          The proposed Class is well-suited for certification under Rule 23(b)(3) because questions
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 1   common to the Class Members predominate over questions affecting only individual Class
 2   Members. Predominance exists “[w]hen common questions present a significant aspect of the case
 3   and they can be resolved for all members of the class in a single adjudication.” Hanlon, 150 F.3d
 4   at 1022. As the U.S. Supreme Court has explained, when addressing the propriety of certification
 5   of a settlement class, courts take into account the fact that a trial will be unnecessary and that
 6   manageability, therefore, is not an issue. Amchem, 521 U.S. at 620.
 7          In this case, common questions of law and fact exist and predominate over any individual
 8   questions, including (in addition to whether this settlement is reasonable (see Hanlon, 150 F.3d at
 9   1026-27)), inter alia: (1) whether Defendants’ representations regarding the Subject Products were
10   false and misleading or reasonably likely to deceive consumers; (2) whether the Subject Products
11   are misbranded; (3) whether Defendants violated the CLRA, UCL, FAL, and NYGBL 349 and
12   350; (4) whether Defendants breached an express or implied warranty; (5) whether Defendants had
13   defrauded Plaintiffs and the Class Members; and (6) whether Plaintiffs and the Class have been
14   injured by the wrongs complained of, and if so, whether Plaintiffs and the Class are entitled to
15   damages, injunctive and/or other equitable relief, including restitution or disgorgement, and if so,
16   the nature and amount of such relief.
17                          b.      A Class Action Is the Superior Mechanism for
18                                  Adjudicating This Dispute
            The class mechanism is superior to other available means for the fair and efficient
19
     adjudication of the claims of the Class Members. Each individual Class Member may lack the
20
     resources to undergo the burden and expense of individual prosecution of the complex and
21
     extensive litigation necessary to establish Defendants’ liability. Individualized litigation increases
22
     the delay and expense to all parties and multiplies the burden on the judicial system presented by
23
     the complex legal and factual issues of this case. Individualized litigation also presents a potential
24
     for inconsistent or contradictory judgments. In contrast, the class action device presents far fewer
25
     management difficulties and provides the benefits of single adjudication, economy of scale, and
26
     comprehensive supervision by a single court.
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 1          Moreover, since this action will now settle, the Court need not consider issues of
 2   manageability relating to trial. See Amchem, 521 U.S. at 620 (“Confronted with a request for
 3   settlement-only class certification, a district court need not inquire whether the case, if tried, would
 4   present intractable management problems, see Fed. Rule Civ. Proc. 23(b)(3)(D), for the proposal is
 5   that there be no trial.”). Accordingly, common questions predominate and a class action is the
 6   superior method of adjudicating this controversy.
 7                  3.      The Class Also Satisfies Rule 23(b)(2)
 8          The proposed class is also well suited for certification under Rule 23(b)(2). See gen. Lilly
 9   v. Jamba Juice Co., 2015 WL 1248027 (N.D. Cal. Mar. 18, 2015) (granting preliminary approval
10   of a Rule 23(b)(2) class of smoothie kit purchasers). See also Ellis v. Costco Wholesale Corp., 657
11   F.3d 970, 978 (9th Cir. 2011) (explaining that the district court may certify a Rule 23(b)(2) class
12   and a separate Rule 23(b)(3) class). As discussed above, the Settlement provides precisely the
13   injunctive relief sought in the Complaint, consisting of, inter alia, changing the formulation of the
14   Subject Products to ensure that they do not contain more alcohol and sugar than permitted by law
15   and listed on the labels, requirements that Health-Ade regularly pay for testing of the Subject
16   Products to be conducted by an independent laboratory, and changing the labels of the Subject
17   Products with regards to the declared sugar content if testing shows that the declared amounts are
18   inconsistent. Absent the Settlement, this type of injunctive relief would only be available to Class
19   Members after prevailing at trial on the merits.
20   VII.   THE PROPOSED NOTICE PROGRAM CONSTITUTES ADEQUATE NOTICE
21          AND SHOULD BE APPROVED
            Once preliminary approval of a class action settlement is granted, notice must be directed to
22
     class members. For class actions certified under Rule 23(b)(3), including settlement classes like
23
     this one, “the court must direct to class members the best notice that is practicable under the
24
     circumstances, including individual notice to all members who can be identified through
25
     reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B). In addition, Rule 23(e)(1) applies to any class
26
     settlement and requires the Court to “direct notice in a reasonable manner to all class members who
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 1   would be bound by a proposal.” Fed R. Civ. P Rule 23(e)(1)
 2          When a court is presented with class notice pursuant to a settlement, both the class
 3   certification notice and notice of settlement may be combined in the same notice. Manual, §
 4   21.633 at 321-22 (“For economy, the notice under Rule 23(c)(2) and the Rule 23(e) notice are
 5   sometimes combined.”). This notice allows Class Members to decide whether to opt out of or
 6   participate in the class and/or to object to the Settlement and argue against final approval by the
 7   Court. Id. The proposed notice program here informs the Class of their rights and includes a
 8   comprehensive plan for direct notice (for those Class Members for whom Health-Ade has contact
 9   information), a settlement website, publication in the Los Angeles Times, San Francisco Chronicle,
10   and Sacramento Bee, an expansive digital and social media notification campaign, and constitutes
11   the best notice practicable under the circumstances. See gen. Wickersham Decl. ¶¶ 5-29.
12          The notice accurately informs Class Members of the salient terms of the Settlement, the
13   Class to be certified, the final approval hearing and the rights of all parties, including the rights to
14   file objections and to opt out of the class. Additionally, the notice provides information on how
15   Class Members can object and opt out of the Class and to send those objections to the Court,
16   information on how Class Members may access the case docket through the Court’s Public Access
17   to Court Electronic Records (“PACER”), and the contact information of Class Counsel. The
18   Parties in this case have created and agreed to perform the following forms of notice, which will
19   satisfy both the substantive and manner of distribution requirements of Rule 23 and due process.
20   See Exs. E and F to the Settlement, at Krivoshey Decl. Ex. 1.
21          Internet and Social Media Banner Notice and Keyword Search Term Notice: The
22   internet and social media banner ad part of the notice program will collectively obtain roughly 44
23   million individual notice impressions. These forms of digital notice were designed to reach
24   persons most likely to be Class Members. The digital and social media notice program is described
25   in detail in the Wickersham and Resnikoff Declarations.
26          Email and U.S. Mail Notice: A notice substantially in the form attached as Exhibit E to
27   the Settlement shall be e-mailed or mailed to the last known e-mail address or mailing address of
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 1   any Class Member whose contact information is available to Health-Ade. E-Mail Notice will be
 2   followed by U.S. Mail Notice to any recipient for whom E-Mail Notice is unsuccessful.
 3          Settlement Website: The parties will post a copy of the Long Form Notice (Ex. E) on a
 4   website to be maintained by the Administrator, which will additionally contain the settlement
 5   documents, an online claim form (Ex. C.), a list of important dates, and any other information to
 6   which the parties may agree. The website shall also contain a Settlement Email Address and
 7   Settlement Telephone Number in addition to Class Counsel’s contact information, where Class
 8   Members can submit questions and receive further information and assistance.
 9          Publication Notice: The parties shall supplement direct notice by publishing the Summary
10   Notice, attached as Exhibit F to the Settlement, once a week for four consecutive weeks in the Los
11   Angeles Times, Sacramento Bee, and San Francisco Chronicle.
12          CAFA Notice: The parties shall also cause to be disseminated the notice to public officials
13   required by the Class Action Fairness Act (“CAFA”). See Settlement at ¶ 78.
14          Defendant’s Website and Social Media Accounts: Health-Ade has agreed to post notice
15   of the settlement on its website and on its Facebook, Instagram, and Twitter accounts in the form of
16   a link to the Settlement Website. Of course, persons that follow Health-Ade on social media
17   accounts are incredibly likely to also be Class Members.
18          These proposed methods of giving notice are appropriate because they provide a fair
19   opportunity for Class Members to obtain full disclosure of the conditions of the Settlement and to
20   make an informed decision regarding the proposed Settlement. Thus, the notices and notice
21   procedures amply satisfy the requirements of due process.
22   VIII. CONCLUSION
23          For the foregoing reasons, Plaintiffs and Class Counsel respectfully request that the Court
24   grant preliminary approval to the Settlement, provisionally certify the Class, approve the proposed
25   notice plan, and enter the Proposed Preliminary Approval Order in the form submitted herewith.
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